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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                          CR-15-19-GF-BMM

                Plaintiff,

      vs.
                                             ORDER ADOPTING FINDINGS AND
COBRA JADE SPOTTED WOLF,                         RECOMMENDATIONS

                Defendant.



      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on June 28, 2018. (Doc. 99.) No party filed

objections.

      When a party makes no objections, the Court need not review de novo the

proposed Findings and Recommendations. Thomas v. Arn, 474 U.S. 140, 153-52

(1986). This Court will review Judge Johnston’s Findings and Recommendations,

however, for clear error. McDonnell Douglas Corp. v. Commodore Bus. Mach.,

Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).

      Judge Johnston conducted a revocation hearing on June 26, 2018. (Doc. 96.)

The United States accused Spotted Wolf of violating of the conditions of his

supervised release by: (1) using a controlled substance; 2) possessing a controlled
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substance; 3) using a controlled substance; and 4) possessing a controlled

substance. (Doc. 99 at 1.) Spotted Wolf admitted to the violations. Id. at 3.

       Judge Johnston has recommended that the Court revoke Spotted Wolf’s

supervised release and commit Spotted Wolf to the custody of the Bureau of

Prisons for fourteen months, with no term of supervised release to follow. (Doc. 99

at 4-5.)

       These violations prove serious and warrant revocation of Spotted Wolf’s

supervised release. The Court finds no clear error in Judge Johnston’s Findings and

Recommendations.

       Accordingly, IT IS ORDERED that Judge Johnston’s Findings and

Recommendations (Doc. 99) is ADOPTED IN FULL.

       IT IS FURTHER ORDERED that Defendant Cobra Jade Spotted Wolf be

sentenced to custody for fourteen months, with no supervised release to follow.

       DATED this 17th day of July, 2018.
